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7

8                       IN THE UNITED STATES DISTRICT COURT

9                     FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,          ) 1:13-CR-00136-AWI-BAM
                                        )
12                     Plaintiff,       ) PRELIMINARY ORDER OF
                                        ) FORFEITURE
13        v.                            )
                                        )
14   CHANRATH YIM YATH,                 )
                                        )
15                     Defendant.       )
                                        )
16                                      )
17       Based upon the plea agreements entered into between United

18   States of America and defendant Chanrath Yim Yath, it is hereby

19   ORDERED, ADJUDGED AND DECREED as follows:

20       1.    Pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c),

21   31 U.S.C. §§ 5317, 5317(c)(1), and 31 U.S.C. § 5317(c)(2), defendant

22   Chanrath Yim Yath’s interest in the following property shall be

23   condemned and forfeited to the United States of America, to be

24   disposed of according to law:

25             a.   $147,900 in U.S. Currency seized from safe deposit box
                    located at Bank of America branch in Modesto,
26                  California, held in the name of Say Eng and Sdey Chim;
27             b.   $7,500 in U.S. Currency seized from an U.S. Express
                    Mail envelope en route from Lowell, Massachusetts to
28                  Modesto, California;

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1          c.    Yugo 59/60 model semi-automatic firearm with serial
                 number K423900, and ammunition located inside magazine;
2
           d.    Norinco SKS model semi-automatic firearm with serial
3                number 013018-DB013018;
4          e.    Savage Arms Mark 2 model semi-automatic firearm with
                 serial number 0461075;
5
           f.    Ruger 10/22 model semi-automatic firearm with serial
6                number 24292833;
7          g.    Winchester 68-22 model firearm with unknown serial
                 number;
8
           h.    Norinco 90 model 12-gauge shotgun with serial number
9                0028157;
10         i.    Sterling Arms CASSI model grease gun style firearm with
                 serial number 586960215SC2626;
11
           j.    Phoenix Arms HP22 model firearm with serial number
12               4173214;
13         k.    Smith & Wesson Air-weight 38 special model firearm with
                 serial number 27050, and ammunition located inside
14               magazine;
15         l.    Smith & Wesson Air-weight 38 special model firearm with
                 serial number 27050, and ammunition located inside
16               magazine;
17         m.    Taurus PT 247 pRO model firearm with serial number
                 NZA81494, and ammunition located inside magazine;
18
           n.    Gabilondo Llama 9mm firearm with serial number 212778;
19
           o.    Phoenix Arms HP22 model firearm with serial number
20               4097953, and ammunition located inside magazine;
21         p.    Colt Automatic 22 model firearm with serial number
                 38829;
22
           q.    Ruger Mark 3 model firearm with serial number 22712865;
23
           r.    Springfield Armory xd 9 model firearm with serial
24               number US862231, and ammunition located inside
                 magazine;
25
           s.    Para Ordinance C7-45LDA model firearm with serial
26               number CC1428, and ammunition located inside magazine.
27         t.    Norinco 54-1 model firearm with serial number 5011651;
28         u.    Smith & Wesson 38+P model firearm with serial number
                 5001502, and ammunition located inside magazine;
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1             v.    Glock 22 model firearm with serial number GVN475, and
                    ammunition located inside magazine;
2
              w.    FNMI 49 model firearm with serial number 517MM10580;
3
              x.    Mach 10 Cobray model upper part with unknown serial
4                   number;
5             y.    Glock 21 pistol with obliterated serial number;
6             z.    Remington 870 shotgun with serial number D693276M;
7             aa.   Apple Desktop SN QP0370SVDNP;
8             bb.   Apple Desktop SN W89133646X1;
9             cc.   Dell Tower 300 SN4HWHZ61;
10            dd.   HP Laptop SN CND8511SGO;
11            ee.   Canon Printer SN GFX80G1; and
12            ff.   A personal money judgment in an amount to be
                    determined by the court at the time of sentencing.
13

14       2.   The above-listed assets constitute property which

15   constitutes, is derived from proceeds traceable to, or are involved

16   in a violation of 18 U.S.C. § 371 and 31 U.S.C. § 5324(a)(3).               The

17   money judgment represents an amount that the defendant obtained as a

18   result of the underlying criminal scheme and violations of 18 U.S.C.

19   § 371 and 31 U.S.C. § 5324(a)(3).

20       3.   Pursuant to Rule 32.2(b), the Attorney General (or a

21   designee) shall be authorized to seize the above-listed property.

22   The aforementioned property shall be seized and held by the

23   Department of the Treasury, Internal Revenue Service Criminal

24   Investigations, in its secure custody and control.

25       4.   a. Pursuant to 28 U.S.C. § 2461(c) and 31 U.S.C. §

26   5317(c)(1)(B), incorporating 21 U.S.C. § 853(n), and Local Rule 171,

27   the United States shall publish notice of the order of forfeiture.

28   Notice of this Order and notice of the Attorney General’s (or a

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1    designee’s) intent to dispose of the property in such manner as the

2    Attorney General may direct shall be posted for at least 30

3    consecutive days on the official internet government forfeiture site

4    www.forfeiture.gov.     The United States may also, to the extent

5    practicable, provide direct written notice to any person known to

6    have alleged an interest in the property that is the subject of the

7    order of forfeiture as a substitute for published notice as to those

8    persons so notified.

9                b. This notice shall state that any person, other than the

10   defendant, asserting a legal interest in the above-listed property,

11   must file a petition with the Court within sixty (60) days from the

12   first day of publication of the Notice of Forfeiture posted on the

13   official government forfeiture site, or within thirty (30) days from

14   receipt of direct written notice, whichever is earlier.

15         5.    If a petition is timely filed, upon adjudication of all

16   third-party interests, if any, this Court will enter a Final Order of

17   Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c),

18   31 U.S.C. §§ 5317, 5317(c)(1), and 31 U.S.C. § 5317(c)(2), in which

19   all interests will be addressed.

20         6.    The government, in its discretion, shall conduct discovery,

21   including written discovery, the taking of depositions, and the

22   issuance of subpoenas, in order to identify, locate or dispose of

23   property subject to forfeiture in accordance with Rule 32.2(b)(3) of

24   the Federal Rules of Criminal Procedure.

25
     IT IS SO ORDERED.
26
27   Dated: March 27, 2014
                                       SENIOR DISTRICT JUDGE
28

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